    Case 1:21-cr-00143-ELR-CCB Document 110 Filed 03/07/23 Page 1 of 11




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


   U NITED S TATES OF A MERICA
                                                Criminal Action No.
         v.
                                                1:21-CR-00143-ELR-CCB
   V ICTOR H ILL



                        SENTENCING MEMORANDUM

   The United States of America, by Ryan K. Buchanan, United States Attorney,

and Brent Alan Gray and Bret R. Hobson, Assistant United States Attorneys for

the Northern District of Georgia, files this Sentencing Memorandum.

   The government recommends a sentence of 46 months’ confinement for

Defendant Victor Hill. Such a sentence is appropriate under the sentencing

factors set forth in 18 U.S.C. § 3553(a) and accounts for Mr. Hill abusing his

authority and physically harming numerous pre-trial detainees under his care in

the Clayton County Jail.

                                   Background

   A. Procedural History

   On March 16, 2022, a federal grand jury in the Northern District of Georgia

returned a second superseding indictment against Hill—then the Sheriff of
Clayton County, Georgia—charging him with seven counts of willfully

depriving detainees at the Clayton County Jail of their constitutional right to be

free from unreasonable force by law enforcement officers, in violation of 18

                                         1
    Case 1:21-cr-00143-ELR-CCB Document 110 Filed 03/07/23 Page 2 of 11




U.S.C. § 242. (Doc. 49.) Specifically, the grand jury alleged that Hill caused the
seven victims to be strapped into restraint chairs at the jail without any

legitimate nonpunitive governmental purpose and for a period exceeding that

justified by any legitimate nonpunitive governmental purpose. (Id.) The grand
jury further alleged that these offenses caused physical pain and resulted in

bodily injury to the victims. (Id.)

   On October 26, 2022, a jury convicted Hill on six of the seven counts. (Doc.

94.) As to each of those six guilty counts, the jury further found that the offense

caused physical pain and resulted in bodily injury to the victims: Raheem

Peterkin (Count One), Desmond Bailey (Count Two), Joseph Arnold (Count

Three), Chryshon Hollins (Count Four), Glenn Howell (Count Six), and Walter

Thomas (Count Seven). (Id.)

   B. Offense Conduct

   Among the evidence before this Court at trial was the fact that Hill ordered

each of the six victims strapped into restraint chairs for hours for no permissible

purpose. In addition, five of the six victims (all but Mr. Arnold) were

handcuffed behind their backs while strapped in the chairs, in violation of Hill’s

own policy.

   C. Guidelines Calculation

   Hill is to be sentenced using the 2021 Guidelines Manual, as amended. (PSR
¶ 105.) Because the jury convicted Hill of violating 18 U.S.C. § 242, the applicable

guideline section is USSG § 2H1.1 (Offenses Involving Individual Rights). The

PSR included the following guideline calculations:
                                         2
       Case 1:21-cr-00143-ELR-CCB Document 110 Filed 03/07/23 Page 3 of 11




 ⋅ Base Offense Level under § 2H1.1(a)(2) (offense involved two or more
   participants): 12
 ⋅ Enhancement One under § 2H1.1(b)(1)(A) & (B) (defendant was a public
   official and acting under color of law): +6
 ⋅ Enhancement Two under § 3A1.3 (restraint of victim): +2
 ⋅ Enhancement Three under § 3B1.1(c) (aggravating role): +2
 ⋅ Grouping Enhancement under § 3D1.4 (more than five units): +5
 ⋅ Total Offense Level: 27
 ⋅ Criminal History Category: I

With a total offense level of 27 and a criminal history in category I, Hill would

face an advisory guideline range of 70 to 87 months’ imprisonment. (PSR Part

D.)

      Hill objected to three aspects of the PSR’s calculations. First, he objected to

the base offense level, arguing that “participants” in § 2H1.1(a)(2) refers only to

individuals who are “criminally responsible for the offense” as explained in

§ 2H1.1 Application Note 2, which references § 3B1.1 Application Note 1. (See,

e.g., PSR ¶ 107, Defendant’s Objection.) Second, he similarly objected to the role

enhancement under § 3B1.1(c), noting that such an enhancement requires that the

offense involved one or more other criminally responsible participants, as

explained in § 3B1.1 Application Notes 1 and 2. (See, e.g., PSR ¶ 110, Defendant’s

Objection.) Third, he objected to the restraint enhancement, arguing that “[t]he
restraint is the offense conduct itself and therefore this should fall under

application note 2 [of § 3A1.3] and no adjustment should apply.” (See, e.g., PSR

¶ 109, Defendant’s Objection.)

                                             3
    Case 1:21-cr-00143-ELR-CCB Document 110 Filed 03/07/23 Page 4 of 11




   Because the government does not intend to present evidence to support a
finding that the offenses involved multiple criminally liable participants, this

Court should sustain Hill’s first two objections. But, as explained further below,

the Court should overrule Hill’s third objection and apply the restraint
enhancement. Accordingly, if the Court agrees, the government anticipates the

following guideline calculations at sentencing:

 ⋅ Base Offense Level under § 2H1.1(a)(3)(A) (offense involved the use or threat
   of force against a person): 10
 ⋅ Enhancement One under § 2H1.1(b)(1)(A) & (B) (defendant was a public
   official and acting under color of law): +6
 ⋅ Enhancement Two under § 3A1.3 (restraint of victim): +2
 ⋅ Grouping Enhancement under § 3D1.4 (five or more units): +5
 ⋅ Total Offense Level: 23
 ⋅ Criminal History Category: I

With a Total Offense Level of 23 and a criminal history in category I, Hill’s

advisory guideline range would be 46-57 months’ imprisonment.

                       Argument and Citation of Authority

   As to the only contested guideline issue—whether an enhancement for
physical restraint is applicable under § 3A1.3—this Court should overrule Hill’s

objection and apply the two-level enhancement. Section 3A1.3 states that “[i]f a

victim was physically restrained in the course of the offense, increase by 2
levels.” § 3A1.3. Courts have recognized that “the ‘physical restraint’

enhancement contained in section 3A1.3 ha[s] a very obvious purpose: the

drafters of the guidelines intended that any offender who physically restrains his
                                          4
    Case 1:21-cr-00143-ELR-CCB Document 110 Filed 03/07/23 Page 5 of 11




victim should receive a two-level offense increase over offenders who commit
the same offense but do not restrain their victims.” United States v. Tholl, 895 F.2d

1178, 1185 (7th Cir. 1990). “[A]n underlying consideration in applying the

guideline is that the physical restraint of a victim during an assault is an
aggravating factor that intensifies the wilfulness, the inexcusableness and

reprehensibleness of the crime and hence increases the culpability of the

defendant.” United States v. Clayton, 172 F.3d 347, 353 (5th Cir. 1999).

   Hill does not contest that the victims were physically restrained in the course

of the offense; instead, he argues only that “[t]he restraint is the offense conduct

itself and therefore this should fall under application note 2 [of § 3A1.3] and no

adjustment should apply.” (See, e.g., PSR ¶ 109, Defendant’s Objection.) But Hill

misreads Application Note 2.

   Application Note 2 instructs courts not to apply the restraint enhancement in

two situations: (1) “where the offense guideline specifically incorporates this

factor,” or (2) “where the unlawful restraint of a victim is an element of the

offense itself (e.g., this adjustment does not apply to offenses covered by § 2A4.1

(Kidnapping, Abduction, Unlawful Restraint)).” § 3A1.3 comment. (n.2). These

exceptions “merely prevent double-counting of physical restraint under section

3A1.3 when a two-level increase for physical restraint already has been taken
into account under the base offense or the specific offense characteristic, or when

the act of physical restraint is an element of the underlying offense.” Tholl, 895

F.2d at 1185.



                                          5
       Case 1:21-cr-00143-ELR-CCB Document 110 Filed 03/07/23 Page 6 of 11




   Here, the applicable offense guideline, § 2H1.1, does not specifically
incorporate restraint as a factor in the base offense level or a specific offense

characteristic, 1 so Hill must be arguing that the latter exception applies—i.e., that

unlawful restraint of a victim was an element of his § 242 convictions. Hill’s
argument is misplaced.

   Simply put, “[r]estraint is not an element of an offense under 18 U.S.C.A. §

242.” United States v. Evans, 85 F.3d 617 (4th Cir. 1996) (unpublished table op.)

(citing Epley, 52 F.3d at 583) (“The right abridged was the right to be secure from

the use of unreasonable force by one acting under color of law. The same offense

could be committed against an unrestrained victim.”). In order to convict Hill of

violating § 242, the jury had to find the following elements beyond a reasonable

doubt as to each victim: (1) Hill deprived the victim of the right to liberty

without due process of law, which includes the right to be free from the use of


   1 See United States v. Epley, 52 F.3d 571, 583 (6th Cir. 1995) (holding that
restraint is not incorporated into § 2H1.1). If Hill were to argue that the base
offense level under § 2H1.1(a)(3) specifically incorporates restraint because it
requires “the use or threat of force against a person,” other courts have rejected
similar arguments. See, e.g., Arcoren v. United States, 929 F.2d 1235, 1248 (8th Cir.
1991) (“Although section 2A3.1(b) lists ‘the means set forth in 18 U.S.C. § 2241(a)
or (b)’—i.e., force, threat, or other means—as a specific offense characteristic of
Criminal Sexual Abuse, this does not necessarily include the physical restraint
that section 3A1.3 covers. . . . Thus, although ‘physically restrained’ requires the
use of force, use of force does not necessarily entail physical restraint.”).




                                          6
    Case 1:21-cr-00143-ELR-CCB Document 110 Filed 03/07/23 Page 7 of 11




unreasonable force by law enforcement officers amounting to punishment; (2)
Hill acted or claimed to act under color of state law; and (3) Hill acted willfully.

(See Court’s Instructions to the Jury.) None of these elements require Hill to have

restrained the victim to be found guilty. Other offenders commit the same
offense without restraining their victims, and the fact that Hill did so by

restraining his victims does not change the elements of the offense as Hill now

suggests.

   Other courts have rejected Hill’s argument. For instance, in Epley, a jury

convicted the two defendants of conspiring to infringe the victim’s constitutional

rights, in violation of § 241, and also convicted one of the defendants of acting

under color of law to deprive the victim of his constitutional rights, in violation

of § 242. Epley 52 F.3d at 575. The constitutional rights at issue for all of these

charges were the victim’s “right to be free from ‘seizure’ without probable cause,

in violation of the Fourth Amendment, and his rights under the due process

clause of the Fourteenth Amendment to be free from arrest without probable

cause.” Id. at 576.

   At sentencing, the government argued that the defendant should be

sentenced either under § 2A4.1 (the “Kidnapping, Abduction, Unlawful

Restraint” guideline), or under § 2H1.1 (the “Offenses Involving Individual
Rights” guideline) with the § 3A1.3 two-level enhancement applied for restraint

of the victim. Id. at 580-81. The district court instead sentenced the defendants

under § 2H1.1 without applying the enhancement under § 3A1.3 for restraint of a
victim. Id. at 581. Mirroring Hill’s argument here, the court explained that it

                                          7
    Case 1:21-cr-00143-ELR-CCB Document 110 Filed 03/07/23 Page 8 of 11




declined to apply the restraint enhancement “because the act of false arrest
includes restraining the victim so that the restraint ‘cannot be seen as a separate

victim related adjustment.’” Id.

   On appeal, the Sixth Circuit agreed that the defendants should be sentenced
under § 2H1.1 rather than under § 2A4.1. Id. at 581-82. But the Court reversed

the district court’s refusal to add the restraint enhancement under § 3A1.3. Id. at

583. The Court held that the exceptions in Application Note 2 did not apply

because, even though the defendants were convicted for the false arrest and

physical restraint of the victim, “the civil rights crime charged here under §§ 241

and 242 does not contain physical restraint as an element of the offense” and

could be committed without restraint. Id.

   In another § 242 case, the Sixth Circuit similarly upheld application of a

restraint enhancement under § 3A1.3, further underscoring that restraint is not

an element of the offense. See United States v. Gray, 692 F.3d 514, 521-22 (6th Cir.

2012). In that case, the jury convicted the defendant of violating § 242 by failing

to obtain medical care for the victim after restraining him with a sleeper hold and

rendering him unconscious. Id. Although “restraint” was an integral part of the

defendant’s offense conduct, the Sixth Circuit approved application of the

enhancement. See id.
   Likewise, the Eighth Circuit upheld application of the restraint enhancement

under § 3A1.3 in another § 242 case in which restraint was the heart of the

offense conduct. See United States v. Wilson, 686 F.3d 868, 871-72 (8th Cir. 2012).
There, the jury convicted the defendant of depriving two victims of their

                                          8
    Case 1:21-cr-00143-ELR-CCB Document 110 Filed 03/07/23 Page 9 of 11




constitutional right to be free from excessive force by moving them from cells
where they were safe to a different cell where they would be assaulted. See id. at

872. The Court held that locking the victims in these enclosed areas, which was

the entire offense conduct for these two victims, supported applying the restraint
enhancement. See id.

   The Eleventh Circuit has rejected a similar argument, albeit in an unpublished

opinion. See United States v. Townsend, 521 F. App’x 904, 909-10 (11th Cir. 2013)

(unpublished). The defendant in Townsend, like Hill here, argued that a restraint

enhancement under § 3A1.3 should not apply pursuant to Application Note 2

because restraint was essentially an element of his offense of conviction. Id. at

910 (“[Defendant] argues that unlawful restraint of a victim is intrinsic to counts

1 and 2, his § 1591(a) sex trafficking offenses.”). But the Court disagreed:

“Because the sex trafficking offenses could be accomplished without force, by

means such as threats, fraud, and withholding L.F.’s passport, physical restraint

was not necessarily intrinsic and an element of the offense itself.” Id.

Accordingly, the Court upheld application of the restraint enhancement. Id.

   Here, like in Epley, Gray, Wilson, and Townsend, the fact that restraint was an

integral part of the offense conduct does not mean that unlawful restraint of a

victim became an element of the offense itself. Moreover, even assuming
arguendo that Hill’s strapping his victims into restraint chairs constituted an

element of his § 242 convictions, five of his six victims were physically restrained

in the course of the offense in an additional way—by being handcuffed. In sum,
because Hill physically restrained his victims where other offenders commit the

                                          9
    Case 1:21-cr-00143-ELR-CCB Document 110 Filed 03/07/23 Page 10 of 11




same offense without doing so, the two-level enhancement under § 3A1.3
applies.

                                   Conclusion

   For the foregoing reasons, this Court should increase Hill’s offense level by
two under § 3A1.3.




                                         Respectfully submitted,

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                                        10
    Case 1:21-cr-00143-ELR-CCB Document 110 Filed 03/07/23 Page 11 of 11




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